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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

UNITED STATES OF AMERICA

VS.                                                  CASE NO: 6:20-cr-97-GAP-LRH

JOEL MICAH GREENBERG


                                REPORT AND RECOMMENDATION
                                 CONCERNING PLEA OF GUILTY

       The Defendant, by consent, has appeared before me pursuant to Fed. R. Crim. P. 11,

Local Rule 1.02, and In re: Authority of United States Magistrate Judges of the Middle

District of Florida, Case No. 8:20-mc-100-T-23 (October 29, 2020), and has entered a plea of

guilty to Counts ONE, EIGHT, NINE, FOURTEEN, TWENTY-FOUR AND TWENTY-SIX of the

Third Superseding Indictment. After cautioning and examining the Defendant under oath

concerning each of the subjects mentioned in Rule 11, I determined that the Defendant entered

the plea of guilty knowingly and voluntarily and that there is a factual basis for the plea. I

therefore recommend that the plea of guilty be accepted. The Defendant is in custody of the

U.S. Marshal pending sentencing.

Date: May 17, 2021




                                             NOTICE

       A party waives the right to challenge on appeal a finding of fact or conclusion of law
adopted by the district judge if the party fails to object to that finding or conclusion within
fourteen days after issuance of the Report and Recommendation containing the finding or
conclusion.

Copies furnished to:

Counsel of Record
District Judge
